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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

COLEEN SHACKLEWOOD                                  JURY TRIAL DEMANDED

v.                                           CASE NO. 3:09cv

HEALTH RECEIVABLES MANAGEMENT, INC.
     d/b/a/ PROGRESSIVE RECOVERY TECHNIQUES

                                      COMPLAINT

1.     This is an action pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. §1692 et seq., the Consumer Collection Agency Act, Conn. Gen.

Stat. § 36a-800 and regulations issued thereunder, and the Connecticut Unfair Trade

Practices Act ("CUTPA"), Conn. Gen. Stat. §42-110a.

2.     This Court has jurisdiction. 15 U.S.C. §1692k and 28 U.S.C. §1331 and §1367.

3.     Plaintiff is a natural person and a consumer within the FDCPA, who resides in

Connecticut.

4.     The Defendant is licensed as a Consumer Collection Agency by the State of

Connecticut, Department of Banking.

5.     The defendant is a “debt collector” as the term is defined in the FDCPA.

6.     Defendant attempted to collect a personal account allegedly owing to FDNY EMS.

7.     Defendant’s letter included a surcharge for payment by credit card which was

neither expressly authorized by the agreement nor permitted by law, and is contrary to the

public policy of Connecticut as expressed in Conn. Gen. Stat. §42-133ff(a).



SECOND COUNT

8. The allegations of the First Count are repeated and realleged.
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9.       Within three years prior to the date of this action, Defendant committed unfair

or deceptive acts or practices in collection efforts within the meaning of the CUTPA,

causing ascertainable loss to plaintiff.

WHEREFORE plaintiff respectfully requests this Court to:

     1. Award plaintiff such damages as are permitted by law, including compensatory

and punitive, including $1,000 statutory damages under the FDCPA.

     2. Award the plaintiff costs of suit and a reasonable attorney's fee;

     3. Award declaratory and injunctive relief and such other and further relief as law or

equity may provide.

                                        THE PLAINTIFF


                                        BY______/s/ Joanne S. Faulkner___
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